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 7
                             UNITED STATES DISTRICT COURT
 8
                          WESTERN DISTRICT OF WASHINGTON
 9
                                            AT TACOMA
10

11   STEPHANIE WILSON,         )                 Case No.
12
                               )
     Plaintiff,                )                 COMPLAINT FOR VIOLATION
13                             )                 OF   FEDERAL   FAIR   DEBT
14          vs.                )                 COLLECTION PRACTICES ACT
                               )
15
     UNITED COLLECTION SERVICE,)
16   INC.,                     )
                               )
17
     Defendant.                )
18

19                                     NATURE OF ACTION
20
            1.      This is an action brought under the Fair Debt Collection Practices
21
     Act (“FDCPA”), 15 U.S.C. § 1692 et seq and the Telephone Consumer Protection
22

23   Act (“TCPA”), 47 U.S.C. § 227.
24
                                  JURISDICTION AND VENUE
25

26          2.      This Court has jurisdiction under 15 U.S.C. § 1692k(d) and 28
27
     U.S.C. § 1331.
     COMPLAINT FOR VIOLATIONS OF THE FAIR
28
     DEBT COLLECTION PRACTICES ACT-1                          WEISBERG & MEYERS, LLC
                                                              3877 N. Deer Lake Rd.
                                                              Loon Lake ,WA 99148
                                                              509-232-1882
                                                              866-565-1327 facsimile
                                                              jrobbins@AttorneysForConsumers.com
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 1          3.      Venue is proper before this Court pursuant to 28 U.S.C. §1391(b),
 2
     where the acts and transactions giving rise to Plaintiff’s action occurred in this
 3

 4   district, (where Plaintiff resides in this district), and/or where Defendant transacts
 5
     business in this district.
 6

 7                                          PARTIES
 8
            4.      Plaintiff, Stephanie Wilson (“Plaintiff”), is a natural person who at
 9
     all relevant times resided in the State of Washington, County of Clallam, and City
10

11   of Port Angeles.
12
            5.      Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
13

14          6.      Defendant, United Collection Service, Inc. (“Defendant”) is an entity
15
     who at all relevant times was engaged, by use of the mails and telephone, in the
16

17
     business of attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C.

18   §1692a(5).
19
            7.      Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).
20

21                                  FACTUAL ALLEGATIONS
22
            8.      Plaintiff is a natural person obligated, or allegedly obligated, to pay a
23

24   debt owed or due, or asserted to be owed or due a creditor other than Defendant.
25
            9.      Plaintiff is a natural person obligated, or allegedly obligated, to pay a
26
     debt owed or due, or asserted to be owed or due a creditor other than Defendant.
27

     COMPLAINT FOR VIOLATIONS OF THE FAIR
28
     DEBT COLLECTION PRACTICES ACT-2                               WEISBERG & MEYERS, LLC
                                                                   3877 N. Deer Lake Rd.
                                                                   Loon Lake ,WA 99148
                                                                   509-232-1882
                                                                   866-565-1327 facsimile
                                                                   jrobbins@AttorneysForConsumers.com
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 1          10.     Plaintiff's obligation, or alleged obligation, owed or due, or asserted
 2
     to be owed or due a creditor other than Defendant, arises from a transaction in
 3

 4   which the money, property, insurance, or services that are the subject of the
 5
     transaction were incurred primarily for personal, family, or household purposes.
 6

 7          11.     Defendant uses instrumentalities of interstate commerce or the mails
 8
     in a business the principal purpose of which is the collection of any debts, and/or
 9
     regularly collects or attempts to collect, directly or indirectly, debts owed or due,
10

11   or asserted to be owed or due another.
12
            12.     Within one (1) year preceding the date of this Complaint, Defendant
13

14   made and/or placed a telephone call to Plaintiff’s cellular telephone number, in
15
     effort to collect from Plaintiff an obligation, or alleged obligation, owed or due,
16

17
     or asserted to be owed or due a creditor other than Defendant.

18          13.     Within one (1) year preceding the date of this Complaint, Defendant
19
     willfully and knowingly utilized an automatic telephone dialing system to make
20

21   and/or place a telephone call to Plaintiff’s cellular telephone number, in effort to
22
     collect from Plaintiff an obligation, or alleged obligation, owed or due, or asserted
23

24   to be owed or due a creditor other than Defendant.
25
            14.     Defendant, after having received written notice from Plaintiff dated
26
     March 16, 2010 in which Plaintiff revoked any express permission to contact her
27

     COMPLAINT FOR VIOLATIONS OF THE FAIR
28
     DEBT COLLECTION PRACTICES ACT-3                              WEISBERG & MEYERS, LLC
                                                                  3877 N. Deer Lake Rd.
                                                                  Loon Lake ,WA 99148
                                                                  509-232-1882
                                                                  866-565-1327 facsimile
                                                                  jrobbins@AttorneysForConsumers.com
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 1   on her cellular phone, placed numerous non-emergency calls to Plaintiff’s cellular
 2
     telephone, without the prior express consent of Plaintiff, using an automatic
 3

 4   telephone dialing system. (47 U.S.C. 227(b)(1)(A)(iii)).
 5
            15.      Defendant, after having received written notice from Plaintiff dated
 6

 7   March 16, 2010 in which Plaintiff demanded that Defendant cease telephone
 8
     communications directed at Plaintiff, placed repeated and continuous calls to
 9
     Plaintiff’s cellular telephone, with the intent to harass, annoy and/or abuse
10

11   Plaintiff. (15 U.S.C. §§ 1692c(c), 1692d(5)).
12
            16.      Defendant’s actions constitute conduct highly offensive to a
13

14   reasonable person, and as a result of Defendant’s behavior Plaintiff suffered and
15
     continues to suffer injury to Plaintiff’s feelings, personal humiliation,
16

17
     embarrassment, mental aguish and/or emotional distress.

18                                          COUNT I
19
            17.      Plaintiff repeats and re-alleges each and every allegation contained
20

21   above.
22
            18.      Defendant violated the FDCPA as detailed above.
23

24          WHEREFORE, Plaintiff prays for relief and judgment, as follows:
25
                  a) Adjudging that Defendant violated the FDCPA;
26
                  b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,
27

     COMPLAINT FOR VIOLATIONS OF THE FAIR
28
     DEBT COLLECTION PRACTICES ACT-4                             WEISBERG & MEYERS, LLC
                                                                 3877 N. Deer Lake Rd.
                                                                 Loon Lake ,WA 99148
                                                                 509-232-1882
                                                                 866-565-1327 facsimile
                                                                 jrobbins@AttorneysForConsumers.com
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 1                   in the amount of $1,000.00;
 2
                  c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;
 3

 4                d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in
 5
                     this action;
 6

 7                e) Awarding Plaintiff any pre-judgment and post-judgment interest as
 8
                     may be allowed under the law;
 9
                  f) Awarding such other and further relief as the Court may deem just
10

11                   and proper.
12
                                            COUNT II
13

14          19.      Plaintiff repeats and re-alleges each and every allegation contained
15
     above.
16

17
            20.      Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii) by willfully and

18   knowingly utilizing an automatic telephone dialing system to make and/or place a
19
     telephone call to Plaintiff’s cellular telephone number.
20

21          WHEREFORE, Plaintiff prays for relief and judgment, as follows:
22
                  a) Adjudging that Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii);
23

24                b) Awarding Plaintiff statutory damages, pursuant to 47 U.S.C. §
25
                     227(b)(3)(B), in the amount of $500.00 per violation;
26

27

     COMPLAINT FOR VIOLATIONS OF THE FAIR
28
     DEBT COLLECTION PRACTICES ACT-5                             WEISBERG & MEYERS, LLC
                                                                 3877 N. Deer Lake Rd.
                                                                 Loon Lake ,WA 99148
                                                                 509-232-1882
                                                                 866-565-1327 facsimile
                                                                 jrobbins@AttorneysForConsumers.com
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 1              c) Awarding Plaintiff statutory damages, pursuant to 47 U.S.C. §
 2
                    227(b)(3)(C), in the amount of $1,500.00 per violation;
 3

 4              d) Awarding Plaintiff actual damages, pursuant to 47 U.S.C. §
 5
                    227(b)(3)(B);
 6

 7              e) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in
 8
                    this action;
 9
                f) Awarding Plaintiff any pre-judgment and post-judgment interest as
10

11                  may be allowed under the law.
12
                                            TRIAL BY JURY
13

14                          Plaintiff is entitled to and hereby demands a trial by jury.
15
                    Respectfully submitted this 24th day of August, 2010.
16

17

18
                                                s/Jon N. Robbins
19                                              Jon N. Robbins
20                                              WEISBERG & MEYERS, LLC
                                                Attorney for Plaintiff
21

22

23

24

25

26

27

     COMPLAINT FOR VIOLATIONS OF THE FAIR
28
     DEBT COLLECTION PRACTICES ACT-6                                WEISBERG & MEYERS, LLC
                                                                    3877 N. Deer Lake Rd.
                                                                    Loon Lake ,WA 99148
                                                                    509-232-1882
                                                                    866-565-1327 facsimile
                                                                    jrobbins@AttorneysForConsumers.com
